        Case: 5:17-cv-00058-KKC Doc #: 12 Filed: 02/13/18 Page: 1 of 1 - Page ID#: 38



                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION - LEXINGTON

      BASCUM STACY,

         Plaintiff,

      -vs-                                              CASE NO.: 5:17-CV-00058-KKC

      ALLY FINANCIAL, INC.

         Defendant.
                                            /


                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


              COMES NOW the Plaintiff, Bascum L Stacy, and the Defendant, Ally Financial, Inc.,

      and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each

      claim and count therein asserted by Plaintiff against the Defendant in the above styled action,

      with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.
              All hearings and deadlines are hereby SET ASIDE and the Clerk is hereby directed to strike

      this matter from the active docket.

      /s/Frank H. Kerney, III, Esquire                  /s/ R. Morgan Salisbury, Esquire
      Frank H. Kerney, III, Esquire                     R. Morgan Salisbury, Esquire
      Admitted Pro Hac Vice (Florida Bar #: 88672)      Bar #: 94922
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February 13, 2018
